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ATTORNEYS FOR GARY TRUST

                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

IN RE:                                          §
                                                §
STW Resources Holding Corp.,                    §           CASE NO. 16-33121-bjh11
                                                §           Chapter 11
       Debtor.                                  §


                                    NOTICE OF HEARING


        PLEASE TAKE NOTICE that a hearing on Gary Trust’s Motion to Convert Case to
Chapter 7 [Docket No. 43] will be held on November 1, 2016 at 9:00 a.m. before the Honorable
Chief Bankruptcy Judge Barbara J. Houser, United States Bankruptcy Court, 1100 Commerce
Street, 14th Floor, Dallas, Texas 75242.

       Dated: October 4, 2016.
                                                     Respectfully submitted,

                                                       /s/ Joyce W. Lindauer
                                                     Joyce W. Lindauer
                                                     State Bar No. 21555700
                                                     Joyce W. Lindauer Attorney, PLLC
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                                                     ATTORNEYS FOR GARY TRUST,
                                                     MOVANT

                                  CERTIFICATE OF SERVICE
        The undersigned hereby certifies that on October 4, 2016, a true and correct copy of the
foregoing document was served via email pursuant to the Court’s ECF system upon the parties
receiving electronic notice in this case and as identified below and via United States first class
mail, postage prepaid, upon the parties on the attached service list.


                                                       /s/ Joyce W. Lindauer
                                                     Joyce W. Lindauer
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